 Fill in this information to identify the case:

 Debtor 1              Brett Svatora
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District       of __________
                                                          of Michigan
                                                       District

 Case number            14-30028
                        ___________________________________________




2IILFLDO )RUP 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Flagstar Bank, FSB
 Name of creditor: _______________________________________                                                        4
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           1 ____
                                                         ____ 2 ____
                                                                  9 ____
                                                                      9              Must be at least 21 days after date       05/01/2018
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                                483.18
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                      98.72
                   Current escrow payment: $ _______________                       New escrow payment:                   148.68
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                                                                    334.50
                   Current principal and interest payment: $ _______________                                                     334.50
                                                                                   New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


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Debtor 1         Brett  Svatora
                 _______________________________________________________                                           14-30028
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/ Adam Berman (P68586)
     _____________________________________________________________
     Signature
                                                                                               Date    04/09/2018
                                                                                                       ___________________




 Print:             Adam                                 Berman
                    _________________________________________________________                  Title   Attorney  for Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Potestivo & Associates, P. C.
                    _________________________________________________________



 Address            251 Diversion St.
                    _________________________________________________________
                    Number                 Street

                    Rochester                        MI      48307
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      (248)853-4400
                    ________________________                                                         aberman@potestivolaw.com
                                                                                               Email ________________________




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                                                           Redacted

     Redacted




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              UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

      Brett Svatora                           Case No.: 14-30028
                                              Judge: Daniel S. Opperman
                                              Chapter: 13
       Debtor,
_________________________________/

                           PROOF OF SERVICE

       I, Jordan Tucker, state that on the 9th day of April 2018, I served a copy
of the Notice of Payment Change and Proof of Service of same upon the
below listed parties:
Carl Bekofske                      Brett Svatora
400 N. Saginaw Street              648 Olde English Circle
Suite 331                          Howell, MI 48855
Flint, MI 48502




By placing same in a well sealed envelope, by first class mail, with the proper
prepaid postage thereon and depositing same in a United States Mail
receptacle in the City of Rochester, State of Michigan to Debtor and via CM-
ECF electronic filing to the Chapter 13 Trustee.

                                        /s/ Jordan Tucker
                                        Jordan Tucker
                                        Employee of Potestivo & Associates,
                                        P.C.
                                        251 Diversion St.
                                        Rochester, MI 49307
                                        (248)853-4400
                                        jtucker@potestivolaw.com




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